                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


 UNITED STATES OF AMERICA,                 )
                                           )
               v.                          ) Criminal Action No. 23-mj-00274-MN
                                           ) Criminal Action No. 23-cr-00061-MN
 ROBERT HUNTER BIDEN,                      )
                                           )
                      Defendant.           )


                                         ORDER

       IT IS HEREBY ORDERED the United States’ motion to vacate as moot the Court’s

briefing order of July 26, 2023, is GRANTED.



______________________                                ______________________________
Date                                                  Hon. Maryellen Noreika
                                                      United States District Judge
